                                                                                Case 3:14-cv-05003-WHA Document 275 Filed 04/07/17 Page 1 of 1



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                                                                          6                           IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9
                                                                         10   JUAN SARAVIA, individually and on behalf                      No. C 14-05003 WHA
                                                                         11   of himself and all others similarly situated,
United States District Court




                                                                                             Plaintiffs,
                               For the Northern District of California




                                                                         12                                                                 ORDER AWARDING
                                                                         13     v.                                                          REASONABLE ATTORNEY’S
                                                                                                                                            FEES AND COSTS
                                                                         14   DYNAMEX OPERATIONS WEST, LLC,

                                                                         15                  Defendant.
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                                                                         16
                                                                         17           As discussed at the fairness hearing and as agreed to by both sides, this order finds an

                                                                         18   award of $500,000 in attorney’s fees and $104,907.30 in costs is fair and reasonable in light of

                                                                         19   the circumstances of our case. The costs award and one-half of the fee award shall be paid

                                                                         20   promptly. The balance shall be paid only after all of the work administering the settlement is

                                                                         21   done.

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                                                                         23           IT IS SO ORDERED.

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                                                                         25   Dated: April 7, 2017.
                                                                                                                                       WILLIAM ALSUP
                                                                         26                                                            UNITED STATES DISTRICT JUDGE

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